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001082-20483                                                                                  1418297
                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


 IN THE MATTER OF THE                             CIVIL ACTION NO:            2:19-cv-12290
 COMPLAINT OF SHELF WORK
 BOATS, L.L.C., AS OWNER AND                      SECTION “ ”
 OPERATOR OF THE M/V SHELF
 ACHIEVER, FOR EXONERATION                        DISTRICT JUDGE
 FROM OR LIMITATION OF
 LIABILITY                                        MAGISTRATE JUDGE


                          VERIFIED COMPLAINT FOR
                 EXONERATION FROM OR LIMITATION OF LIABILITY

         NOW INTO COURT, through undersigned counsel, comes Shelf Work Boats, L.L.C.

(hereinafter “Petitioner”) as owner and operator of a vessel known as the M/V SHELF

ACHIEVER, in a cause for exoneration from and/or limitation of liability, civil and maritime,

under Rule 9(h) of the Federal Rules of Civil Procedure and Rule F of the Supplemental Rules of

Admiralty and Maritime Claims, who avers upon information and belief as follows:

                                                 1.

         At all times pertinent hereto, Petitioner is and was the owner and operator of the M/V

SHELF ACHIEVER, its equipment, tackle, apparel, fixtures, and furniture.

                                                 2.

         Petitioner is a Louisiana limited liability company organized under and existing by virtue

of the laws of the State of Louisiana and domiciled in Galliano, Louisiana.

                                                 3.

         The M/V SHELF ACHIEVER, Official No. 1050721, is a one hundred twenty-one (121)

foot long passenger vessel with its hailing port in Galliano, Louisiana.
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                                               4.

       On or about March 2, 2019, the M/V SHELF ACHIEVER was traversing at or near

Vermillion Bay, Louisiana, when it encountered the M/V MS. CHRISTINE, also traversing at or

near Vermillion Bay.

                                               5.

       Upon information and belief, the M/V MS. CHRISTINE, Official No.1026052, is a one

hundred thirty-eight (138) foot long passenger vessel owned and/or operated by Tobias, Inc.

                                               6.

       While the M/V SHELF ACHIEVER was traversing at or near Vermillion Bay, the M/V

MS. CHRISTINE collided with the M/V SHELF ACHIEVER (the “Incident”), causing damage

to the M/V SHELF ACHIEVER and causing alleged personal injuries to Joey Speer, a

crewmember of the M/V SHELF ACHIEVER.

                                               7.

       The Incident resulted due to no fault on the part of the Petitioner or the M/V SHELF

ACHIEVER. The M/V SHELF ACHIEVER was, at all material times, a seaworthy vessel and

well and sufficient equipped and supplied.

                                               8.

       Petitioner used due diligence, to the extent it was legally obligated to do so, to make the

aforementioned vessel seaworthy, and it was prior to the Incident herein, tight, staunch, strong,

fully and properly manned, equipped, and supplied and in all respects seaworthy and fit for the

service in which it was engaged.




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                                                  9.

        The aforementioned Incident and alleged injuries or damages resulting from the aforesaid

Incident were not caused or contributed to by any fault, negligence, or lack of care on the part of

Petitioner, its owners or officers, or the M/V SHELF ACHIEVER, but was caused instead by the

fault, negligence, and lack of care of other parties or by circumstances beyond the control of

Petitioner.

                                                 10.

       Petitioner denies that it or the M/V SHELF ACHIEVER is liable to any extent in the

premises for any damages, losses and/or injuries, and in that regard, therefore, Petitioner is entitled

to exoneration from liability for all claims, damages, losses and injuries which may have been

done, occasioned or incurred by any reasons of the matters aforesaid.

                                                 11.

       In the alternative and without admitting liability, Petitioner avers that in the event it or the

M/V SHELF ACHIEVER should be held responsible to any person or parties by reasons of the

matters aforesaid, Petitioner and the M/V SHELF ACHIEVER are entitled to the benefits of the

Limitation of Liability Act as provided for in § 30501 through § 30512 of Title 46 of the United

States Code and all laws supplementary thereto and amendatory thereof.

                                                 12.

       All of the alleged losses, damages, injuries, and destruction resulting from the aforesaid

Incident were done, occasioned and incurred without fault on the part of Petitioner and without

Petitioner’s privity or knowledge.




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                                               13.

       This Complaint is filed within six (6) months of Petitioner’s receipt of first written notice

that the claim had the reasonable possibility of exceeding the value of the M/V SHELF

ACHIEVER and is therefore timely.

                                               14.

       Venue is proper in the United States District Court for the Eastern District of Louisiana

pursuant to Rule F(9) of the Supplemental Rules of Certain Admiralty and Maritime Claims.

                                               15.

       On August 23, 2019, suit was brought against Petitioner within the United States District

Court for the Eastern District of Louisiana by Tobias, Inc., in a matter entitled “Tobias, Inc. v.

Shelf Work Boats, LLC and the M/V SHELF ACHIEVER”, Civ. No. 2:19-cv-12284, in which

Tobias, Inc. seeks damages against Petitioner arising out of the subject incident on March 2, 2019.

                                               16.

       This is an admiralty and maritime action within the meaning of Rule 9(h). Jurisdiction is

based on 28 U.S.C. §1333.

                                               17.

       Petitioner offers and files contemporaneously herewith an Affidavit of Value, attached

hereto as Exhibit “A,” setting forth the post-incident value of the M/V SHELF ACHIEVER in the

amount of $857,000.00.

                                               18.

       Petitioner offers and files contemporaneously herewith an Ad Interim Stipulation and

Letter of Undertaking (“Stipulation”), attached hereto as Exhibit “B,” for the payment into this

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Honorable Court of the aggregate amount of Petitioner’s interest in the M/V SHELF ACHIEVER

at the termination of her voyage as aforesaid, plus freight pending in the amount of $2,300.00,

with interest at the rate of six (6) percent per annum from the date of the Stipulation, and for all

costs; and in addition thereto, Petitioner is prepared to give bond or stipulation for any amount in

excess of the Ad Interim Stipulation as may be ascertained and determined to be necessary under

any order(s) of this Honorable Court.

                                                19.

       The parties known to have potential claims at this time are:

       1.      Joey Speer
               Through his Attorney
               Mr. W. Corey Grimley
               The Glenn Armentor Law Corporation
               300 Stewart St.
               Lafayette, LA 70501

       2.      Tobias, Inc.
               Owner and/or Operator of the M/V MS. CHRISTINE
               Through its Attorney
               Mr. Larry Plunkett
               Reich, Album & Plunkett
               3850 N. Causeway Blvd. Suite 1000
               Metairie, LA 70002


WHEREFORE, Petitioners pray:

               (1)     That this Court accept Petitioner’s Ad Interim Stipulation as security for the

       M/V SHELF ACHIEVER in the amount EIGHT HUNDRED FIFTY-NINE THOUSAND

       THREE-HUNDRED AND NO/100 DOLLARS ($859,300.00) and cause the attached Order

       Approving Petitioner’s Ad Interim Stipulation to be issued;

               (2)     That this Court make an order directing the issuance of a monition and notice

       to all persons claiming damages for any and all loss of life, personal injury, destruction,

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property damage or loss occasioned or incurred by or resulting from the aforesaid casualty or

other occurrences, as hereinabove described, or during the voyage on which the M/V SHELF

ACHIEVER was then engaged, citing them and each of them to file their respective claims

with the Clerk of this Honorable Court, and to serve copies of said claims upon the attorney

for the Petitioner on or before the time fixed by this Honorable Court in the monition or be

forever barred and permanently enjoined from making and filing any such claims, to make

due proof of their respective claims thereafter before a commissioner or this Honorable Court

as this Honorable Court may later direct, and also to appear and answer the allegations of this

Complaint according to the laws, rules and practices of this Honorable Court at or before a

certain time to be fixed by the monition.

       (3)       That this Court issue an injunction restraining the prosecution of all suits,

actions and proceedings already begun to recover for damages sustained, arising out of or

resulting from the incident or other occurrences, as hereinabove described, or during the

voyage on which the M/V SHELF ACHIEVER was then engaged, and restraining the

commencement or prosecution hereafter of any suit, action or legal proceedings of any nature

or description whatsoever, except in the present proceedings, against Petitioner or its agents

or representatives or any other person whatsoever for whom Petitioner may be responsible or

the M/V SHELF ACHIEVER in respect of any claim or claims arising out of the aforesaid

voyage of the M/V SHELF ACHIEVER on or about March 2, 2019, along with the aforesaid

occurrence(s).

       (4)       That this Court, assuming that a claim is filed against Petitioner as well as the

M/V SHELF ACHIEVER in this proceeding, adjudge:




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                    a)       That Petitioner is not liable to any extent for any loss of life, injury,

           destruction, property damage or loss, nor for any claim whatsoever in any way arising

           out of or consequent upon the aforesaid occurrence(s);

                    b)       Alternatively, if Petitioner shall be adjudged liable, that such liability

           be limited to the amount or value of Petitioner’s interest in the M/V SHELF

           ACHIEVER immediately after the voyage on which the aforesaid occurrence(s) took

           place, and that the money paid or secured to be paid as aforesaid be divided pro rata

           among such Claimants as may duly prove their claims, if any, before this Court or a

           commissioner, if one be appointed, saving to all parties any priorities to which they

           may be legally entitled, and that a decree may be entered discharging Petitioner from

           all further liability.

           (5)      That Petitioner has such other and further relief as the justice of the cause may

require.

                                    Respectfully submitted,


                                    /s/ Gavin H. Guillot            _
                                    Gavin H. Guillot, T.A. (#31760)
                                    Aaron B. Greenbaum (#31752)
                                    Elizabeth McIntosh (#36575)
                                    PUSATERI, JOHNSTON, GUILLOT & GREENBAUM
                                    1100 Poydras Street, Suite 2250
                                    New Orleans, LA 70163
                                    Telephone: 504-620-2500
                                    Facsimile: 504-620-2510
                                    Gavin.Guillot@pjgglaw.com
                                    Aaron.Greenbaum@pjgglaw.com
                                    Elizabeth.McIntosh@pjgglaw.com
                                    ATTORNEYS FOR PETITIONER-IN-LIMITATION,
                                    SHELF WORK BOATS, L.L.C.




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